Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 1 of 130 PageID:
                                  31011




                EXHIBIT AA
   Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 2 of 130 PageID:
                                     31012




CRIME FRAUD HEARING
                                                                                     1
 What Must The Court Decide on Prima Facie Case?
          Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 3 of 130 PageID:
                                            31013




  Is there “a reasonable basis to suspect that the
privilege holder (Engelhard/BASF) was committing
    or intending to commit a crime or fraud”** in
              violation of 2A:84A-20(2)?



                                                      **In Re Grand Jury, 705 F.3d 133 (3d. Cir. 2012)
                                                                                                     2
  N.J. Substantive Crime Fraud Law Applies
            Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 4 of 130 PageID:
                                              31014




 “Rule 501, as it applies to federal civil cases, incorporates the
doctrine of Erie R.R. Co. v. Tompkins, and requires deference to
        any applicable state law governing privileges.”

  “In this diversity case [Rule] 501 refers the district court, on
     questions of privilege, to state law.” In re Grand Jury
 Investigation, 918 F.2d 374, 379 n.6 (3d Cir. 1990) United Coal
   Cos. v. Powell Constr. Co., 839 F.2d 958, 964 (3d Cir. 1998).

       Newman v. GM, No. 02-135, at pp. 60 (D.N.J. 2005)
                   applying NJSA 2A:84A-20
      and citing Fellerman v. Bradley & Jadlowski v. OCF

                                                                                              3
What Standard Applies For Crime Fraud In N.J.?
          Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 5 of 130 PageID:
                                            31015




    2A:84A-20. Lawyer-client privilege.
    (2) Exceptions. Such privilege shall not extend (a)
    to a communication in the course of legal service
    sought or obtained in aid of the commission of a
    crime or a fraud.




                                                                                            4
                                                 Fellerman v. Bradley
                               Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 6 of 130 PageID:
                                                                 31016




                                            “Confederating with clients to allow court and counsel to
                                            labor under a misapprehension as to the true state of
                                            affairs” is a fraud that comes within the bounds of the
                                            exception.†

                                            “Acts constituting fraud are as broad and as varied as the
                                            human mind can invent. Deception and deceit in any form
                                            universally connote fraud. Public policy demands that the
                                            ‘fraud’ exception to the attorney-client privilege as used in
                                            in Evidence Rule 26 [now N.J.R.E. 504] be given the
                                            broadest interpretation.”

† Fellerman v. Bradley, 99 N.J. 493, 503 (1985) (quoting In re Callan, 122 N.J. Super. 479, 496 (Ch.Div. 1973))


                                                                                                                  5
What Must The Court Decide on Prima Facie Case?
         Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 7 of 130 PageID:
                                           31017




“The burden is not a particularly heavy one”




                                                       **In Re Grand Jury, 705 F.3d 133 (3d Cir. 2012)
                                                                                                    6
 What Must The Court Decide on Prima Facie Case?
          Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 8 of 130 PageID:
                                            31018




Not required to introduce evidence sufficient to
support a verdict of crime or fraud.
Not required even to show that it is more likely
than not that the crime or fraud occurred.


                    In re Grand Jury, 705 F.3d at 152–54 (citing Zolin, 491 U.S. at 574–75)
                                                                                            7
New Jersey jurists
                Case who      have viewed
                     2:11-cv-01754-BRM-AME       the
                                           Document      evidence
                                                    521-29                have
                                                           Filed 05/17/18 Page            found a prima facie
                                                                                     allPageID:
                                                                               9 of 130
 case exists warranting BASF’s withheld documents be reviewed in camera.
                                                  31019




        1. New Jersey Superior Court Judges

        2. Former Appellate Division Judge

        3. Former New Jersey Supreme Court Justice.




                                                                                                                8
Has  The
  Case          PlaintiffDocument
       2:11-cv-01754-BRM-AME Established              APage
                                  521-29 Filed 05/17/18 Prima          Facie
                                                            10 of 130 PageID:

      Case of Fraudulent Concealment?
                                 31020




                  The crime-fraud exception applies to “communications in the course of
                  legal service sought or obtained in aid of the commission of a crime or a
                  fraud.” N.J.R.E. 504 (2). This, of course, would include communications
                  establishing an intentional cover-up or concealment. See Ocean Spray
                  Cranberries, Inc. v. Holt Cargo Systems Inc., 345 N.J. Super. 515, 521 (Law
                  Div. 2000). Here, during the hearing on plaintiffs’ motion to amend, Judge
                  McCormick specifically noted there was evidence that documents
                  reflecting asbestos content in EMTAL’s talc were not produced over a
                  period of twenty years and, as a result, plaintiffs’ cases were dismissed. In
                  determining that plaintiff had pled a prima facie case of fraudulent
                  concealment, Judge McCormick intimated that plaintiffs should be able to
                  pursue discovery as to why those documents had been concealed and not
                  produced over the twenty-year period.




                                                                                                  9
                                                        Ocean Spray
                              Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 11 of 130 PageID:
                                                                 31021




                                              “Where an attorney-client privileged memo contains evidence
                                              or suggestions of false information, the crime/fraud exception
                                              applies. Nat. Utility Service, Inc. v. Sunshine Biscuits, Inc.,
                                              301 N.J. Super. 610, 618,App. Div. 1997).”†


                                              “Its campaign to hide the truth includes Holt’s refusal to
                                              disclose the truth and its continued denial of any knowledge
                                              of cranberry spoilage at its warehouse, in both interrogatory
                                              answers and the certification of its in house counsel. The
                                              “fraud exception to the attorney–client privilege is clearly
                                              established.”†
† Ocean Spray Cranberries, Inc. v. Holt Cargo Systems, Inc., 345 N.J. Super. 515, 525-526 (Law Div. 2000)



                                                                                                                 10
                                            Jadlowski v OCF
                      Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 12 of 130 PageID:
                                                         31022




                                        “In the case before us, [Owen-Corning’s in-
                                        house attorney] answered later interrogatories
                                        as a representative of the corporation. These
                                        later answers may have served as evidence of a
                                        fraud by Owens-Corning. One way to prove
                                        plaintiff’s claim of fraud was to show that the
                                        corporation indeed had contrary information six
                                        years before the interrogatory answers were
                                        rendered.”


Jadlowski v. Owens-Corning Fiberglas Corp., 661 A.2d 814 (N.J. App. Div. 1995), certif. denied, 670 A.2d
1066 (N.J. 1996).


                                                                                                           11
      Judge Linares found BASF had a duty to preserve evidence
                        Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 13 of 130 PageID:
                                                           31023




[T]he Court finds that Defendants had a duty to preserve. At issue is
whether Defendants had a "legal obligation to disclose evidence in
connection with an existing or pending litigation" at the time of the alleged
spoliation. Rosenblit, 166 N.J. at 406 (emphasis added). Cahill and Halket, in
essence, argue that the fraudulent concealment claim fails because the
evidence was allegedly destroyed at an opportune time: after the "existing"
Westfall case settled but prior to "pending" (i.e., imminent) litigation. In the
Court's view, this misses the mark. The Court declines to delineate the
precise contours of the duty to preserve as it existed in 1984, but finds that:
in 1984, a party had a duty to preserve evidence when it was relevant in a
prior lawsuit, and where it was reasonably foreseeable that the evidence
would be relevant to anticipated lawsuits of nearly identical subject .” similarly
situated adversaries. Stated differently, the Court cannot conclude that a window of consequence-free
Williams v. BASF Catalysts LLC (ECF 190), slip. op. at 12 –13 (D.N.J. Apr. 5, 2016)

                                                                                                           12
        All of BASF’s responses fail to rebut Plaintiffs’ case.
                Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 14 of 130 PageID:
                                                   31024




1. No documents at issue identified.
  BASF wrong because:
  • Plaintiffs’ CFE motion asked the Court to make the prima facie finding
    based upon the public record necessary to conduct an in camera review.
    No documents were needed to establish the prima facie case requisite
    given the public record evidence of BASF’s and Cahill’s fraud.
  • Plaintiff’s opening motion brief identified withheld documents at pp.37: all
    of the transcripts and documents produced or developed before Justice
    Stein in the Sampson case. BASF is fully aware of these documents.
  • Plaintiffs also asked for documents withheld in Cahill Compilation (Ex. 3).
  • Plaintiffs provided a list of documents to clarify what those documents
    were (Appendix C).

                                                                                                   14
       All of BASF’s responses fail to rebut Plaintiffs’ case.
                 Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 15 of 130 PageID:
                                                    31025




2. “In furtherance” standard does not apply.
  BASF wrong because:
  • Not the applicable standard under New Jersey law.
  • NJ statute provides the standard: Communications in the course of legal
    services in aid of clients’ commission of a fraud.
     • Phrase “in furtherance of” does not appear in New Jersey’s crime-fraud statute’s
       text.

     • New Jersey precedent does not mandate “in furtherance” nexus in determining
       whether a particular document should be released after in camera review under the
       crime-fraud exception.




                                                                                                    15
       All of BASF’s responses fail to rebut Plaintiffs’ case
               Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 16 of 130 PageID:
                                                  31026




5. No evidence to support the CFE
 BASF wrong because the public evidentiary record is clear:

   • Surviving testing records in BASF’s possession it now touts show
     asbestos was found in numerous samples and BASF and Cahill knew
     this.
   • BASF’s own scientists – Hemstock, Triglia and Gale – in 1983 testified
     under oath in the presence of BASF’s attorneys that asbestos fibers
     were found in Emtal talc.
   • Testimony of Swanson and Hemstock and analysis of Westfall
     transcripts establish internal documents discarded pursuant to the
     March 7, 1984 Hemstock “Purge” Memo.
   • Copies of Hemstock, Triglia and Gale Westfall transcripts suppressed.

                                                                                                  20
    What Must The Court Ultimately Decide?
          Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 17 of 130 PageID:
                                             31027




  Is there “a reasonable basis to suspect that the
privilege holder ( Engelhard/BASF) was committing
    or intending to commit a crime or fraud”** in
              violation of 2A:84A-20(2)?



                                                         **In Re Grand Jury, 705 F.3d 133 (3d Cir. 2012)
                                                                                                     22
The CourtCaseis2:11-cv-01754-BRM-AME
                  also permitted                       to05/17/18
                                     Document 521-29 Filed   look Page 18at
                                                                         of 130 the
                                                                                PageID: withheld

       documents in making its decision
                                             31028




        Have the plaintiffs presented “a factual basis
         adequate to support a good faith belief by a
       reasonable person that in camera review of the
     materials may reveal evidence to establish the claim
          that the crime-fraud exception applies”?



                                                                 In Re Grand Jury, 745 F.3d at 689
                                                                                                     23
                 What Crime Or Fraud Did BASF Commit?
                  Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 19 of 130 PageID:
                                                     31029




Misrepresenting to Litigants no evidence of asbestos in Emtal



Misrepresenting to Courts no evidence of asbestos in Emtal


Misrepresenting to Courts and Litigants no prior cases or
testimony relating to Emtal                                                                          Crime-Fraud


Securing dismissals based upon misrepresentations



Wrongful destruction and withholding of evidence


                                                                                                                   24
                        Who Was Involved In The Fraud?
                  Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 20 of 130 PageID:
                                                     31030




Engelhard Corporation                    Cahill Gordon & Reindel                              BASF Catalysts LLC



                                                                                                                   25
          What Does Your Honor NOT Have To Decide?
              Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 21 of 130 PageID:
                                                 31031




Who is correct on the science of whether Emtal testing was state
of the art?


   Defendants now admit evidence of asbestos
               was not disclosed.




                                                                                                 26
    What Evidence Supports Prima Facie Evidence of Crime Fraud?
                     Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 22 of 130 PageID:
                                                        31032




The strategy to misrepresent information about the asbestos in
Emtal originated With Engelhard


Engelhard had repeated analysis finding asbestos in Emtal talc



Litigation lies and incriminating evidence concealed
                                                                                                        Crime-Fraud



Securing dismissals based upon misrepresentations



Wrongful destruction and withholding of documents


                                                                                                                      27
What Misrepresentations Were Made to Customers, Courts & Litigants?
                      Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 23 of 130 PageID:
                                                         31033




Beginning no later than 1972, customers were told no trace of
asbestos in Emtal talc


Courts and Litigants told Emtal talc did not contain any asbestos


Courts and Litigants told there was no evidence of asbestos in
Emtal talc
                                                                                                    Crime-Fraud
                                                                                                MISREPRESENTATIONS
Courts and Litigants told no Engelhard employee ever testified
concerning asbestos in Emtal talc

Courts and Litigants told of prior fraudulent dismissals as precedent
to obtain even further dismissals

                                                                                                                     28
          Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 24 of 130 PageID:
                                             31034




The Strategy to Misrepresent Information About
    The Asbestos In Emtal Originated With
                  Engelhard




                                                                                             29
Engelhard Purchased the Johnson Mine in 1967
    Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 25 of 130 PageID:
                                       31035




                                                                                       30
Customers Made Clear They Did Not Want Asbestos Contaminated Talc
             Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 26 of 130 PageID:
                                                31036




                                                                    1970 to 1980s

                                                     “Recent publicity has called
                                                      attention to the hazard of
                                                    exposure to fibrous forms of
                                                   talc. We have received several
                                                  inquiries as to whether the talc
                                                    used in our plants …contains
                                                          asbestos fibers.”


                                                                                                See examples as Ex. 7


                                                                                                                   31
Customers Made Clear They Did Not Want Asbestos Contaminated Talc
              Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 27 of 130 PageID:
                                                 31037




    GE 1973                            BF GOODRICH 1978                                          GAF 1980
                                                                                                      See examples as Ex. 7
                                                                                                                        32
In Response       EngelhardDocument
      Case 2:11-cv-01754-BRM-AME Repeatedly       Assured
                                     521-29 Filed 05/17/18 Page 28Customers
                                                                  of 130 PageID:
    Emtal Did Not Contain Even a Trace of Asbestos
                                    31038




                           “The commercial product grades (Emtal® pIaty tales)
                           shipped from the Johnson, Vermont plant have been
                             examined by the most appropriate and sensitive
                        mineralogical diagnostic methods available; and it can be
                        stated with confidence that no trace of any of the asbestos
                           minerals; namely, Chrysotile; Amosite, Anthophylite,
                          Tremolite, ActInolite, or Crocidolite, and be detected by
                        standard x-ray powder diffraction methods or by Scanning
                               Electron Microscope methods at the highest
                                               magnification.”


                                                                                   See examples as Ex. 8–9

                                                                                                        33
      Entire Industries Were Promised
                                   31039 Emtal Was Asbestos Free
              Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 29 of 130 PageID:




11/28/1978



                                                                                                 34
     Where DidCase
                The       Idea Of Misrepresenting
                   2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 PageInformation
                                                                             30 of 130 PageID: About
                   The Asbestos In Emtal Originate?
                                                 31040




Engelhard Representations to Customers


   “The commercial product grades (the
   EMTALS) shipped from the Johnson,
Vermont plant have been examined by the                                                        MSDS
      most appropriate and sensitive
     mineralogical diagnostic methods
                                                                                               1978
       available and it can be stated
With confidence that no trace of any of the
  asbestos minerals; namely, Chrysotile,
     Amosite, Anthophyllite, Tremolite,
 Actinolite or Crocidolite can be detected
   by standard X-ray powder diffraction
     methods or by Scanning Electron
    Microscope methods at the highest
              magnification.”
                                                                                             See examples as Ex. 8–9

                                                                                                                  35
      Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 31 of 130 PageID:
                                         31041




Engelhard Received Repeated Analysis
   Finding Asbestos in Emtal Talc
       Engelhard’s Insurance Carriers
                                   31042Found Asbestos in Emtal
              Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 32 of 130 PageID:




1972
                                                                                                 See Ex. 4(a)

                                                                                                            37
Asbestos Was Found in the Waste
                             31043Rock from the Johnson Mine
          Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 33 of 130 PageID:




                                                                          06/12/1973




                                                                                             3/16/83 Hemstock Dep. Ex. 3


                                                                                                                      38
     Asbestos Was Found in Air Samples
Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 34 of 130 PageID:
                                   31044




                                                    02/03/1977




                                                                                   39
             Multiple Forms of Asbestos Were Confirmed
                Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 35 of 130 PageID:
                                                   31045




           Tremolite                                                Fibrous tremolite found
           09/05/1972                                                     05/18/1977
Ex. 4(c)                                                                                           BASF00028

                                                                                                          40
               Multiple Forms of Asbestos Were Confirmed
                  Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 36 of 130 PageID:
                                                     31046




      Chrysotile 3/18/1977                                            Chrysotile 4/30/1979


BASF00053                                                                                            Ex. 4(d)

                                                                                                                41
                 Millions of Asbestos Fibers Were Confirmed
                     Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 37 of 130 PageID:
                                                        31047




  Millions of Chrysotile fibers found
               9/19/1979

Ex. 3, Tab 32


                                                                                                        42
Levels of Asbestos Varied from Trace to Abundant
     Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 38 of 130 PageID:
                                        31048




                                                                                        07/17/1979




                                                                                                     Ex. 4(f)

                                                                                                            43
LevelsCase
       of2:11-cv-01754-BRM-AME
            Asbestos Varied                  from
                               Document 521-29           Trace
                                               Filed 05/17/18         to
                                                              Page 39 of 130 Abundant
                                                                             PageID:

                Verified by Repeat Sampling
                                       31049




                                                               “There is good agreement
                                                                 between Georgia Tech
                                                                 and Engelhard that the
                                                                 asbestos fiber count in
                                                                EMTAL varied from trace
                                                                     to abundant”
                                                                         07/17/1979




                                                                                        Ex. 4(f)

                                                                                               44
Three Independent Laboratories Confirm Asbestos in Emtal
          Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 40 of 130 PageID:
                                             31050




                                     Three separate laboratories plus
                                   Engelhard find chrysotile asbestos in
                                   EMTAL 42 from 1977, 1978 and 1979.

                                       ““The results showed that although there
                                        was a variability in the number of fibers
                                        counted from week to week, there were
                                          nevertheless fibers present in every
                                        sample of Emtal 42 tested. A few of the
                                       Emtal 42 samples showed relatively high
                                                     fiber counts.”

                                                            05/22/1979


                                                                                             Ex. 4(e)

                                                                                                   45
In 1979 Engelhard Conducted Its Own Study of the Emtal Mine
           Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 41 of 130 PageID:
                                              31051




                                                     The following is a review and update on the
                                                        talc investigation which was initiated in
                                                         February 1979. The investigation itself
                                                     concerns the identification of contaminants
                                                    in a number of talc production samples using
                                                           transmission electron microscopy.
                                                                           ***
                                                    Thirty-eight mine crushed rock samples have
                                                          been sent to the Georgia Institute of
                                                       Technology for qualitative transmission
                                                          electron microscopy investigations.




                                                                                              Ex. 3, Tab 25
What was the purpose of the asbestos in mine study?
       Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 42 of 130 PageID:
                                          31052




                                           “A new Raymond Mill is needed at
                                           Johnson to support and grow this
                                                      business.”


                                         “Approved construction of the new
                                      Raymond Mill has been delayed pending
                                       the assessment of a newly recognized
                                                      risk.”

                                                                05/17/1979

                                                                                          Ex. 3, Tab 28
                           Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 43 of 130 PageID:

Engelhard & Georgia Tech Agree Johnson                        31053


Mine Contaminated With Asbestos


                 Glenn
                Hemstock




             Johnson Mine
    Emil
   Triglia   Contaminated          Peter Gale
             with Asbestos



                 Georgia
                  Tech




                                                                                                              48
1979
Meeting Was Called to Decide What to Do
 Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 44 of 130 PageID:
                                    31054




                                                          05/17/1979

                                                                                    Ex. 3, Tab 28
           “Asbestos Fiber is Present”
Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 45 of 130 PageID:
                                   31055




                                                         05/17/1979
                                                                                   Ex. 3, Tab 28
                                       Why was the Johnson Mine closed?
                                    Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 46 of 130 PageID:
                                                                       31056



 46                                                      116
15 Q      If I understood your testimony from             1    Q   Okay. And do you recall who sent that
16 earlier today, you told us that -- which employer      2 memo?
was                                                       3    A   I believe it was the president of the
17 it that owned the talc mine in Vermont?                4 company.
18      A     It was Engelhard Minerals & Chemicals.      5    Q   Do you know who the president of the
19      Q      Engelhard Minerals & Chemicals.            6 company was at that time?
20           At some point they did tell you that you     7    A   Irving Isko. I-S-K-O.
21 would not be working with talc anymore, correct?       8    Q   And do you recall the contents of that
22      A     That's right, yes.                          9 memo, what it had said?
23      Q      And that was because of a possible
24 asbestos contamination?
                                                         10   A    Simply we're closing the
25      A     Yes.                                       mine because --
47
 1     Q      What information at that time did they     11 I think I recall it said "For the
 2 give you with regards to asbestos?
 3     A     Well, that was after the Selikoff study
                                                         fear of
 4 had made the headlines, so they just said that        12 contamination of asbestos,
 5 asbestos in trace amounts was found in talc, and I
 6 think they said that there's no talc in the world     we're closing that mine.
 7 that doesn't have a trace of asbestos with it.
 8          So that's about all they said, but they
                                                         13 We'll seal it up immediately."
 9 closed their mine -- the mine down, they sealed it
10 off, and told us to purge our records.                                                                        Swanson Dep. 46:15–47:10, 115:21–116:13
Engelhard Considered the Emtal Asbestos Findings Reliable
          Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 47 of 130 PageID:
                                             31057




                                                                                      6/27/12 Hemstock Dep. 667:11–668:13


                                                                                                                            53
Was Case
     Dr.2:11-cv-01754-BRM-AME
           HemstockDocument   Pressured           IntoPageCategorizing
                                  521-29 Filed 05/17/18    48 of 130 PageID:

          The Emtal Testing Documents?
                                 31058




                                                         6/27/12 Hemstock Dep. 602:12–603:9, 658:1–659:8


                                                                                                           54
What is a “trace” amount of asbestos?
Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 49 of 130 PageID:
                                   31059




                                                 “Trace” amounts of asbestos is
                                                    in the order of a couple of
                                                 percent by weight more or less




                                                                                   6/27/12 Hemstock Dep. 668:14–669:10
What Do  Engelhard,
      Case 2:11-cv-01754-BRM-AME BASF,      & Cahill
                                 Document 521-29 Filed 05/17/18 Say     Is
                                                                Page 50 of 130 The
                                                                               PageID: “Safe”

         Amount Of Exposure To Asbestos?
                                         31060




                                                           Dr. Hemstock, in looking at the sales of
                                                          Emtal over a three-year period to just one
                                                           customer, Congoleum of Trenton, N.J.,
                                                          there were 1,800,000 pounds of asbestos
                                                          fiber introduced into the workplace even
                                                            if there were only “trace” amounts of
                                                               asbestos contained in Emtal talc.



                                                                          600,000 lbs of
                                                              asbestiform material in 1 year




                                                            6/27/12 Hemstock Dep. 677:16–679:14, 679:15-22, 681:19–683:20

                                                                                                                        56
    Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 51 of 130 PageID:
                                       31061




Personal Injury Litigation Begins




                                                                                       57
Engelhard Joined in Westfall Mesothelioma Case
     Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 52 of 130 PageID:
                                        31062




                                                    Oct. 21, 1982




                                                                                        BASF_SAMPSON000038167

                                                                                                           58
Engelhard Also Sued in Schwartz Case
Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 53 of 130 PageID:
                                   31063




                                                 June 27, 1983

                                         Engelhard is sued in the
                                        Schwartz case in California




                                                                                   BASF_SAMPSON000035806

                                                                                                      59
What Evidence Was Disclosed in Westfall?
 Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 54 of 130 PageID:
                                    31064




                                                   March 16, 1983

                                          Doctor Hemstock testifies
                                          about tests showing trace
                                            to abundant asbestos
                                             fibers in Emtal talc.


                                                      See, e.g., 3/16/83 Hemstock Dep. 17:16-24, 46:11-17
                                        (finding 1.6% asbestos, which Hemstock testified is greater than trace), 103:8-
                                                                19 (relatively higher fiber counts)

                                                                                                                    60
What Evidence Was Disclosed in Westfall?
 Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 55 of 130 PageID:
                                    31065




                                                         April 7, 1983

                                          Dr. Triglia testifies that
                                         asbestos found in Emtal
                                                     talc



                                                                                    4/7/83 Triglia Dep. 55:24–56:17

                                                                                                                      61
What Evidence Was Disclosed in Westfall?
 Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 56 of 130 PageID:
                                    31066




                                                         April 26, 1983

                                            Gale testifies that
                                        chrysotile asbestos found
                                            in Johnson Mine




                                                                                    62
Engelhard Geologist Testified He Found Asbestos in Emtal Mine
            Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 57 of 130 PageID:
                                               31067




                                           “I recall that there were fibers
                                              found in the talc, yes . . . I
                                           determined those fibers were
                                                 chrysotile fibers.”

                                           Deposition of Peter Gale in the Westfall
                                                 case taken April 26, 1983



                                                                                               4/26/83 Gale Dep. 19:24–20:9
Westfall       Settles After
  Case 2:11-cv-01754-BRM-AME            Engelhard
                             Document 521-29                   Executives
                                             Filed 05/17/18 Page 58 of 130 PageID:

  Admit Evidence of Asbestos in Emtal Talc
                                     31068




                                              Westfall case settles.




                                                                                     Ex. 24

                                                                                          64
 Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 59 of 130 PageID:
                                    31069




All Incriminating Evidence
Returned As Condition of
    Westfall Settlement



                                                                                    CF-10


                                                                                            65
                   Even the Plaintiff’s Evidence Was Destroyed
                      Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 60 of 130 PageID:
                                                         31070




                                                           No. 97: “BASF admits that at least certain of Dr.
                                                               Glassley’s talc samples were destroyed
                                                               pursuant to the Stipulation and Order of
                                                            Confidentiality in place in the Westfall case.”


                                                            No. 99: “BASF admits that certain of Dr. Glassley’s
                                                           notes were turned over to counsel for Engelhard and
                                                            destroyed pursuant to the Stipulation and Order of
                                                             Confidentiality in place in the Westfall case ….”


                                                           No. 102: “BASF admits that certain of Dr. Glassley’s
                                                              photographs were turned over to counsel for
                                                           Engelhard and destroyed pursuant to the Stipulation
                                                            and Order of Confidentiality in place in the Westfall
                                                                                case ….”
Ex. 30 BASF RFAs

                                                                                                                    67
Engelhard Legal Department Ordered Evidence Be Discarded
          Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 61 of 130 PageID:
                                             31071




                                                    March 7, 1984


                                                Purge memo calls for “discard” of
                                                Emtal related documents for R&D
                                                operations. Scientists told to put
                                                research outside their doors for
                                                pickup. Lab notebooks to be picked
                                                up on March 16, and retuned on
                                                March 19, after Emtal information
                                                removed.




                                                                                             Ex. 22


                                                                                                      68
         Engelhard Legal Department Ordered Evidence Be Discarded
                   Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 62 of 130 PageID:
                                                      31072




                                                                         March 7, 1984




                                                       Hemstock in his Sampson case deposition:
                                                     • Explained that the document purge was not
                                                       limited to the R&D department, but included
                                                       other departments, such as production,
                                                       marketing, etc.
                                                     • That while the memo went out under his
                                                       name, it was prepared by the Legal
                                                       Department and was likely drafted by
                                                       General Counsel Dornbusch.


Ex. 22                                                              6/25/12 Hemstock Dep. 565:23 –566:7; 5/9/12 Hemstock Dep. 33:8–35:13

                                                                                                                                       69
Document Destruction Ordered While Schwartz Case Still Pending
             Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 63 of 130 PageID:
                                                31073




                                                                   July 10, 1984

                                                          Schwartz case settles




                                                                                                BASF_SAMPSON000028739

                                                                                                                   70
   Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 64 of 130 PageID:
                                      31074




Fraudulent Misrepresentations
   to Litigants and Courts
            Cahill and     J&J Worked
                    Case 2:11-cv-01754-BRM-AME      to31075
                                               Document  Secure
                                                        521-29             anPageAffidavit
                                                               Filed 05/17/18     65 of 130 PageID: that

                             Engelhard Knew Was False




                                                          “Cahill attorneys, including Peter Sloane
                                                           and Ira Dembrow, drafted, revised, and
                                                                worked with William Ashton to
                                                               finalize and sign the May 8, 1989
                                                          affidavit of William H. Ashton. Attorneys
                                                              for Johnson & Johnson also were
                                                                          involved…”


Ashton Affidavit
                                                                                                           BASF Interrogs. Ex. 6


                                                                                                                               72
          Ashton Signed an Affidavit Engelhard Knew Was False
                   Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 66 of 130 PageID:
                                                      31076




                                                             “From the 1940s through the 1980s,
                                                            talc mined in Vermont and specifically
                                                                 the talc mined by Engelhard
                                                              Corporation (and its predecessors)
                                                            from the talc mine located in Johnson
                                                              Vermont the “Johnson Mine”) has
                                                             been considered to be talc free from
                                                                 contamination by asbestos”


Ashton Affidavit
                                                                                                      Ex. 10

                                                                                                          73
               Engelhard
                    Case 2:11-cv-01754-BRM-AME Its Westfall
                                Cites to Document                    Expert
                                                    521-29 Filed 05/17/18            Testimony
                                                                          Page 67 of 130 PageID:

                  But Omits Testimony of Its Own Scientists
                                                   31077




                                                “8. In sworn testimony in 1983 [in the Westfall case]
                                               (relevant portions of which are attached as Exhibit G),
                                                  Dr. Chidester stated that he never found veins of
                                                   chrysotile asbestos in talc located in Vermont.”




Ashton Affidavit
No mention of Hemstock, Triglia or Gale Depositions
     and Emtal/Johnson Mine Testing Results
                                                                                                         74
  Engelhard
          CaseExecutive
              2:11-cv-01754-BRM-AMECharles
                                    Document 521-29Carter
                                                    Filed 05/17/18 Signed          an Affidavit
                                                                   Page 68 of 130 PageID:

                      Engelhard Knew Was False
                                            31078




                                 “In addition, Engelhard does not
                                currently possess any testing data
                                  other than the data provided to
                                you by way of the Ashton Affidavit
                                   and the report of Dr. Pooley.”




Carter Affidavit
   8/181989                                                                                       Ex. 20(c)

                                                                                                         75
           False Ashton and Carter Affidavits
         Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 69 of 130 PageID:

         Used Repeatedly to Secure Dismissals
                                            31079




Kansas                                   Mississippi                                        Ohio

                                                                                                   76
      Same “No Asbestos” Lies Told Over & Over
           Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 70 of 130 PageID:
                                              31080




Michigan                                   Arkansas                                     Massachusetts
                                                                                                 See examples as App’x A
                                                                                                                      77
Frivolous Lawsuit Sanctions Threatened in New Jersey
             Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 71 of 130 PageID:
                                                31081




                                  “[I]t has been conclusively established
                                that the talc from the Johnson Mine does
                               not contain asbestos. As such, there is no
                                 reasonable basis to support proceeding
                                with the plaintiffs’ claims against EMTAL
                                    and BASF. Pursuant to R. 1:4-8 and
                                  N.J.S.A. 2A:15-59.1 we hereby demand
                                     that the complaints be voluntarily
                                   dismissed because, based upon the
                                 forgoing, the allegations against EMTAL
                                          and BASF are frivolous.”
03/28/2008
                                                                                                App’x A, Tab BB
Engelhard Witnesses Swore to Fraudulent Discovery Responses
          Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 72 of 130 PageID:
                                             31082




                                                 “A number of analysis of the Johnson
                                                 mine have been conducted, all of them
                                                 have concluded that the talc produced
                                                 from this mine did not contain
                                                 asbestos.”



                                                                          Submitted in
                                                                          New York in
                                                                         Chernick case.
 2002
                                                                                             App’x , Tab J

                                                                                                             7
Engelhard Witnesses Swore to Fraudulent Discovery Responses
          Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 73 of 130 PageID:
                                             31083




                                                                 No Prior Testimony

                                               Submitted in New York in Chernick case.
2002
                                                                                             App’x , Tab J

                                                                                                       80
       Engelhard Interrogatory Responses in Federal MDL
             Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 74 of 130 PageID:
                                                31084




                                                      Pita did not mine, mill,
                                                 manufacture, market, distribute,
                                                                Pita
                                                 or rebrand asbestos or asbestos
                                                       containing products.




2002
                                                                                                App’x B, Tab I

                                                                                                                 81
   Sworn Ohio Answers to Interrogatories in Graham case
           Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 75 of 130 PageID:
                                              31085




                                                   “Additionally, plaintiff has provided no evidence
                                                       that EMT’s talc is an asbestos containing
                                                   product. On the other hand, EMT filed numerous
                                                      materials in response to plaintiff’s discovery
                                                   requests that indicate that the talc mined by EMT
                                                     was asbestos free…These materials included:

                                                    1. A copy of an affidavit prepared by William H.
                                                                         Ashton…
                                                       2. A copy of a report prepared by Dr. F. D.
                                                                          Pooley”

2008
                                                                                              App’x B, Tab N
       Engelhard’s Ohio Interrogatory Responses
         Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 76 of 130 PageID:
                                            31086




2007                                                                                        App’x B, Tab M
       Engelhard’s Ohio Interrogatory Responses
         Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 77 of 130 PageID:
                                            31087




2007                                                                                        App’x B, Tab M
       Engelhard’s Ohio Interrogatory Responses
       Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 78 of 130 PageID:
                                          31088




2007                                                                                      App’x B, Tab M
   Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 79 of 130 PageID:
                                      31089




Misrepresentations Were Made
  Directly to Judges Charged
  with Administering Justice




                                                                                      90
Misrepresentations               Were
     Case 2:11-cv-01754-BRM-AME Document    Made
                                         521-29           Directly
                                                Filed 05/17/18 Page 80 of 130to   Judges
                                                                              PageID:

       Charged with Administering Justice
                                        31090




                                             “There was no asbestos in our
                                          talc…Mr. Ashton concludes that our
                                         client’s talc did not contain asbestos.”
                                                             ***
                                          Disregarding the forgoing, plaintiffs’
                                           counsel have failed and refused to
                                          dismiss our client from this litigation
                                         to the great expense and detriment of
                                                        our client…”

                                        To the Federal MDL Judge Charles Weiner
                                                               08/14/1989
                                                                                           Ex. 18

                                                                                                91
Misrepresentations               Were
     Case 2:11-cv-01754-BRM-AME Document    Made
                                         521-29           Directly
                                                Filed 05/17/18 Page 81 of 130to   Judges
                                                                              PageID:

       Charged with Administering Justice
                                        31091




                                                 “EMTAL TALC DID NOT CONTAIN
                                                         ASBESTOS”

                                              “While talc from other geographic
                                              locations may contain asbestos, it is
                                              undeniable that EmTal talc which
                                              came from a single mine in Johnson
                                              Vermont — did not contain
                                              asbestos.”
                                              To the Judge Presiding Over Michigan Cases
                                                                               Representative examples in App’x B
Misrepresentations               Were
     Case 2:11-cv-01754-BRM-AME Document    Made
                                         521-29           Directly
                                                Filed 05/17/18 Page 82 of 130to   Judges
                                                                              PageID:

       Charged with Administering Justice
                                        31092




                                                 “EMT filed numerous materials in
                                                  response to plaintiff’s discovery
                                                 request that indicate that the talc
                                                 mined by EMT was asbestos-free.”

                                                     SJ Brief filed in Graham case
                                                                 2/09/09


                                                                                           App’x B, Tab N
Misrepresentations               Were
     Case 2:11-cv-01754-BRM-AME Document    Made
                                         521-29           Directly
                                                Filed 05/17/18 Page 83 of 130to   Judges
                                                                              PageID:

       Charged with Administering Justice
                                        31093




                                                “The plaintiff will not be able to prove the
                                                       Emtal talc contained asbestos.
                                                                     ***
                                                      The plaintiff has no reasonable
                                                 expectation of proving that Mrs. Kramers
                                                alleged death was substantially caused by
                                                   exposure to asbestos containing talc
                                                     allegedly manufactured by Emtal”

                                                          SJ Brief filed in Massachusetts
                                                                     03/29/2009

                                                                                           App’x B, Tab O
Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 84 of 130 PageID:
                                   31094




  Admissions Lies Told
                               What Do BASF’s Own Witnesses Admit To?
                                      Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 85 of 130 PageID:
                                                                         31095




          Hemstock Testifies About Ashton Aff.                                             Poole Testifies That Ashton Aff. Is
                                                                                                Untrue And Misleading




                                                                                     Q. Based upon . . . all the tests that you
       Q. From everything you know and the                                              conducted . . . is this a true statement
          studies you were in charge of, is that an                                     that it’s “free from contamination by
          accurate statement?                                                           asbestos”?
       A. No, it is not an accurate statement.                                       A. There were tests that showed there was
                                                                                        contamination by asbestos.
5/29/12 Hemstock Dep. 101:19–103:23                                                                                      5/25/10 Poole Dep. 208:15–210:9

                                                                                                                                                     100
Was the Carter Affidavit Used to Dismiss Cases True?
       Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 86 of 130 PageID:
                                          31096




                                                           Q. In addition, Engelhard does not
                                                              currently possess any testing data,
                                                              other than the data provided to you
                                                              by way of the Ashton affidavit and
                                                              the report of Dr. Pooley.

                                                                Was that a true statement made by
                                                                Mr. Carter under oath under penalty
                                                                of perjury in 1989?

                                                           A. I don’t know what was in Mr. Carter’s
                                                              mind at the time, but it appears not
                                                              to be true on the surface of it, on the
                                                              face of it.”

                                                                                    6/27/12 Hemstock Dep. 709:9–710:15


                                                                                                                         101
Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 87 of 130 PageID:
                                   31097




Admissions Lies Worked
BASF Attorneys
             Caseas    Officers of
                 2:11-cv-01754-BRM-AME     Court
                                       Document         Represented
                                                521-29 Filed                           Cases Dismissed
                                                             05/17/18 Page 88 of 130 PageID:

            Based Upon No Asbestos Representation
                                               31098




Kansas & PA cases dismissed            Arkansas cases dismissed              Ohio cases dismissed
                                                                                  Representative samples in App’x A

                                                                                                                103
BASF Attorneys        as Officers
          Case 2:11-cv-01754-BRM-AME       of
                                     Document    the
                                              521-29 FiledCourt       Represented
                                                          05/17/18 Page 89 of 130 PageID: Cases
   Dismissed Based Upon No Asbestos Representation
                                             31099




Michigan cases dismissed                     California & Oklahoma cases dismissed           App’x B, Tab D

                                                                                                         104
       BASF Attorneys        as Officers
                 Case 2:11-cv-01754-BRM-AME       of
                                            Document    the
                                                     521-29 FiledCourt       Represented
                                                                 05/17/18 Page 90 of 130 PageID: Cases
          Dismissed Based Upon No Asbestos Representation
                                                    31100




                                                     As you requested last month, I have
                                                    prepared and am enclosing notices of
                                                      dismissal of Engelhard…from five
                                                       recently filed tireworker cases in
                                                    Cuyahoga County on the basis of our
                                                   correspondence demonstrating that talc
                                                       produced by Engelhard’s former
                                                     subsidiary, Eastern Magesia Talc Co
                                                      (“EMTal”) contained no asbestos.

                                                            Bevan Cases Dismissed
1993
                                                                                                    App’x A, Tab U

                                                                                                                106
BASF Attorneys        as Officers
          Case 2:11-cv-01754-BRM-AME       of
                                     Document    the
                                              521-29 FiledCourt       Represented
                                                          05/17/18 Page 91 of 130 PageID: Cases
   Dismissed Based Upon No Asbestos Representation
                                             31101




                                                     Lets stop wasting each
                                                   other’s time…If contrary to
                                                      virtually every other
                                                      plaintiffs’ tireworker
                                                      counsel you will not
                                                    voluntarily dismiss us …

08/29/1991
BASF Attorneys        as Officers
          Case 2:11-cv-01754-BRM-AME       of
                                     Document    the
                                              521-29 FiledCourt       Represented
                                                          05/17/18 Page 92 of 130 PageID: Cases
   Dismissed Based Upon No Asbestos Representation
                                             31102




                                                “The talc from this mine did not contain asbestos …
                                                 Pita states that as to its talc, it has been named in
                                                 tireworker suits involving numerous plaintiffs and
                                                multiple defendants which have been filed in various
                                                   state and federal courts in Arkansas, California,
                                                Kansas, Michigan, Mississippi, Ohio, Oklahoma, and
                                                Pennsylvania. Many of these cases were voluntarily
                                                dismissed by the plaintiffs after they were presented
                                                with information similar to that which is contained in
                                                 these interrogatory answers. All of the cases were
                                                 ultimately dismissed prior to trial, except that two
                                                actions in the Court of Common Pleas for Cuyahoga
                                                                     County, Ohio


   1995
                                                                                            App’x B, Tab F
         BASF         Corporate
          Case 2:11-cv-01754-BRM-AME     Representative
                                     Document 521-29 Filed 05/17/18 Page 93Admits
                                                                           of 130 PageID:

Cases Dismissed Based Upon No Asbestos Representation
                                             31103




                                                  Q And does the lawyer actually
                                                  keep score in the second to last full
                                                  paragraph of all the plaintiffs that your
                                                  company got to dismiss their case
                                                  based upon a representation that
                                                  there was no asbestos in their talc?
                                                   A Yes.
                                                   Q It actually goes through all the
                                                  people who relied upon that
                                                  representation, does it not, in various
                                                  jurisdictions throughout the United
                                                  States?
                                                   A Yes.


                                                                                    5/25/10 Poole Dep.

                                                                                                     110
   Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 94 of 130 PageID:
                                      31104




BASF Suppresses Troublesome
  Evidence that Resurfaces




                                                                                      111
How did Glassley get involved in the Martin case?
     Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 95 of 130 PageID:
                                        31105




                                          Q. Tell me about your first communication with Miss
                                          Cuzzone?
                                          A. As I recall, she called me on the phone, we had a
                                          brief chat, she asked me if I participated in the Westfall
                                          case. Other than that, I don’t recall [where] the
                                          conversation [went].. . .
                                          Q. Did she say that she wanted you to offer in the
                                          Martin case the same opinions you had reached in the
                                          Westfall case?
                                          A. I don’t recall that it was that specific. My
                                          recollection is that it was more providing expert
                                          opinion about related issues similar to the Westfall
                                          case, but I don’t . . . recall anything else.



                                                                                  Glassley Dep. 119:9–18, 120:14–120:20


                                                                                                                          112
What did Cuzzone provide Dr. Glassley with in the Martin case?
            Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 96 of 130 PageID:
                                               31106




                                                                                               Glassley Dep. 123:6–124:15

                                                                                                                      113
What did Dr.Case
             Glassley            findDocument
                 2:11-cv-01754-BRM-AME when        he
                                              521-29 Filedexamined              the
                                                          05/17/18 Page 97 of 130 PageID:ore from the

                                    Johnson mine?
                                             31107




                                                       “I would have said [that]
                                                       serpentine and talc from
                                                      the Johnson Vermont Talc
                                                      Mine contains asbestiform
                                                             chrysotile.”



                                                                                          Glassley Dep. 77:19–78:6

                                                                                                                114
What report did Dr. Glassley issue in the Martin case?
       Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 98 of 130 PageID:
                                          31108




                                                                                          118
  Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 99 of 130 PageID:
                                     31109




Fraud Continued After BASF
      Was in Control




                                                                                     119
Was the Glassley      evidenceDocument
            Case 2:11-cv-01754-BRM-AME released
                                           521-29 Filedwhen       the
                                                       05/17/18 Page        partial
                                                                     100 of 130 PageID: truth came
                                    out in Paduano?
                                           31110




                                                                                                     120
Was the Glassley      evidenceDocument
            Case 2:11-cv-01754-BRM-AME released
                                           521-29 Filedwhen       the
                                                       05/17/18 Page        partial
                                                                     101 of 130 PageID: truth came
                                    out in Paduano?
                                           31111




                                                Paduano Privilege Log




                                                                                                     CF-32


                                                                                                       121
   Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 102 of 130 PageID:
                                       31112




Engelhard & BASF Knowledge
        Did Engelhard know about the lies and demands for dismissals?
                    Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 103 of 130 PageID:
                                                        31113




                                              “I must insist on a response to our request for a
                                           dismissal based on the Ashton Affidavit and materials.”



                                               “[P]laintiffs' counsel in Pennsylvania voluntarily
                                           dismissed EmTal from the Pennsylvania litigation. The
                                          same result has been obtained in the tireworker litigation
                                          in Kansas. On January 16, 1990 plaintiffs' counsel filed a
                                            notice voluntarily dismissing a number of defendants,
                                           including EmTal. Plaintiffs' counsel in Kansas also had
                                           been provided with the Ashton materials. A copy of this
                                                        notice of dismissal is attached.”
          1990
                                                                  CC Peter Sloane & Lester Fliegel
                                                                     (Engelhard in-house legal)
App’x A, Tab I

                                                                                                        125
  Did Engelhard know about the lies and demands for dismissals?
              Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 104 of 130 PageID:
                                                  31114




                                                    “As we discussed at some length, based upon
                                                    the extensive materials that have been sent to
                                                    you, EMTal believes that, as in many previous
                                                        cases, it should be dismissed from the
                                                        litigation, and plaintiffs have agreed to
                                                           continue to take that request under
                                                                     consideration.”




                                                        CC Peter Sloane & Michael Hassett
                                                            (Engelhard in-house legal)


2003                                                                                              App’x A, Tab AA

                                                                                                             126
Did Engelhard Executives Certify False Discovery Responses?
           Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 105 of 130 PageID:
                                               31115




                                                      “Engelhard does not currently possess any
                                                    testing data other than the data provided to you
                                                    by way of the Ashton Affidavit and the report of
                                                                       Dr. Pooley.”



                                                     “I know the foregoing from my own personal
                                                      knowledge and from a search of corporate
                                                                      records…”



                                                                   Charles Carter
  Ex. 49



                                                                                                       Ex. 16

                                                                                                            127
           Did Engelhard executives certify false discovery responses?
                     Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 106 of 130 PageID:
                                                         31116




                                                                In response to question about prior lawsuits




                                                                In response to question about prior
                                                                deposition testimony by employees etc..




App’x B, Tab E

                                                                                                               128
         Was Engelhard Involved In Providing
       Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 107 of 130 PageID:

          Fraudulent Discovery Responses?
                                           31117




                                                           Michael Hassett
                                                       Associate General Counsel
2002
                                                                                           App’x B, Tab J

                                                                                                       129
Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 108 of 130 PageID:
                                    31118




                      Spoliation
                            What Evidence Is Still Missing?
                     Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 109 of 130 PageID:
                                                         31119




All original asbestos testing reports with 3 exceptions



Dr. Hemstock’s & Dr. Oulton’s Emtal files




All original Westfall depositions & majority of exhibits
                                                                                                         Crime-Fraud


All original scientific backup and testing data



Results from Engelhard’s Study of the Johnson Mine


                                                                                                                       133
               Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 110 of 130 PageID:

What complete documents are available from Hemstock’s Deposition?
                                                   31120




                                                                   Out of the 51 exhibits marked
                                                                    at Dr. Hemstock’s Westfall
                                                                    deposition, BASF has been
                                                                     able to produce complete
                                                                      copies of only ten (10)
                                                                              exhibits.




                                                                                             5/23/10 Poole Dep. 98:15–100:5

                                                                                                                              134
What evidence is missing from Hemstock’s Westfall deposition?
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                                                31121




                              26 out of 51 (51%)
                                                                                                135
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                                                  31122

What evidence is missing from Dr. Hemstock’s Westfall deposition?




                                                                                                  Steinmetz
                             26 out of 51 (51%)
What evidence is missing from Triglia’s Westfall Deposition?
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                                              31123




                                                                                          00




               19 of 31 Exhibits (61%) missing

                                                                                               140
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                                                 31124


What evidence is missing from Mr. Triglia’s Westfall deposition?




                                                                                                 Steinmetz
                            19 out of 31 (61%)
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                                                            31125


 What evidence is missing from Mr. Gale’s Westfall deposition?
GALE EXHIBIT NUMBER        PREVIOUSLY MARKED AS                                                               DESCRIPTION
                                  EXHIBIT
      Gale Exhibit 15                     Triglia Exhibit 15            A memorandum from Peter Gale to R.E. Lomas dated 3-14-79
      Gale Exhibit 16                     Triglia Exhibit 16            A memorandum from Peter Gale to several individuals dated 3-20-79
      Gale Exhibit 17                     Triglia Exhibit 17            A memorandum to Mr. Hemstock from Mr. Lomas dated 3-16-79
      Gale Exhibit 18                     Triglia Exhibit 18            The Engelhard Minerals and Chemicals Calculation
      Gale Exhibit 19                     Triglia Exhibit 19            The Engelhard Minerals and Chemicals Calculation consisting of 21 pages
      Gale Exhibit 20                   Hemstock Exhibit 50             Engelhard Minerals and Chemicals Calculation flow sheet
      Gale Exhibit 23         Triglia Exhibit 23; Hemstock Exhibit 50   Engelhard Minerals and Chemicals Division letter to John Brown from Peter Gale dated 3-21-79

      Gale Exhibit 24                    Triglia Exhibit 24             A memorandum from Mr. Gale to Mr. Triglia and other individuals dated 4-4-79
      Gale Exhibit 25                    Triglia Exhibit 25             A memorandum from Peter Gale to Mr. Triglia dated 4-11-79
      Gale Exhibit 26                    Triglia Exhibit 26             An interdepartmental memorandum from Mr. Gale to several individuals dated 4-9-79

      Gale Exhibit 27                    Triglia Exhibit 27             A letter on Walter C. McCrone letterhead to Mr. Gale dated 4-30-79

      Gale Exhibit 28         Hemstock Exhibit 23; Triglia Exhibit 28   A talc investigation – Engelhard Minerals and Chemicals Calculation

      Gale Exhibit 29         Hemstock Exhibit 36; Triglia Exhibit 29   A memorandum from Mr. Triglia to Mr. Hemstock dated 5-22-79

      Gale Exhibit 31         Hemstock Exhibit 45; Triglia Exhibit 31   A memorandum to Mr. Hemstock from Mr. Triglia dated 7-17-79

      Gale Exhibit 50                  Hemstock Exhibit 50              Copies of Publications, raw data and reports contained in a binder



                                            11 out of 15 (73%)
What happened to Dr. Hemstock’s Chrono file?
   Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 116 of 130 PageID:
                                       31126




                                                                                       5/9/12 Hemstock Dep. 49:3–52:12
                                                                                                                  143
   Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 117 of 130 PageID:
                                       31127




Documents Justice Rivera Soto
      Should Examine




                                                                                       165
The Documents Withheld from the Cahill Compilation (Ex. 3)
          Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 118 of 130 PageID:
                                              31128




                                                                          “According to BASF the
                                                                       compilation contains additional
                                                                           documents that BASF
                                                                        continues to withhold under a
                                                                             claim of privilege.”




                                                             7/18/17 Steinmetz Dep. 58:17– 62:4, 80:12–82:2; ECF 370 (Pl’s Br.) at 6

                                                                                                                                 166
All Documents Reviewed by Justice Stein
 Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 119 of 130 PageID:
                                     31129




                                                                       The full evidentiary record
                                                                       developed in the Sampson
                                                                       matter, should be received
                                                                            and considered.




                                                                                      ECF 370 (Pl.’s Br.) at 5

                                                                                                          167
    All Depositions Taken in Sampson
Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 120 of 130 PageID:
                                    31130




                                                     “[Plaintiffs] also respectfully
                                                   submit that the Court should be
                                                        provided with all of the
                                                      transcripts and documents
                                                    produced or developed before
                                                      Justice Stein in Sampson”




                                                                                    ECF 370 (Pl.’s Br.) at 37


                                                                                                           168
All Documents Related to Creation and Distribution of Ashton Affidavit
                       Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 121 of 130 PageID:
                                                           31131




    Ashton Affidavit
       5/8/1989
                                                                                                           169
All Documents Related       to Execution
                 Case 2:11-cv-01754-BRM-AME       &31132
                                            Document   Distribution
                                                     521-29 Filed 05/17/18 Pageof
                                                                               122 ofCharles
                                                                                     130 PageID: Carter Affidavit




         Carter Affidavit
           8/18/1989
                                                                                                              170
Documents Related in Time to Asbestos in Mine Study
       Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 123 of 130 PageID:
                                           31133




                                                 The following is a review and update on the
                                                    talc investigation which was initiated in
                                                     February 1979. The investigation itself
                                                 concerns the identification of contaminants
                                                in a number of talc production samples using
                                                       transmission electron microscopy.
                                                                       ***
                                                Thirty-eight mine crushed rock samples have
                                                      been sent to the Georgia Institute of
                                                   Technology for qualitative transmission
                                                      electron microscopy investigations.




                                                                                       See p. 22 of Plaintiffs’ Brief.
Documents From the Westfall Settlement to Purge Memo
        Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 124 of 130 PageID:
                                            31134




                                                  March 7, 1984
                                                  Purge Memo




                                                                                            173
Documents From the Westfall Settlement to Purge Memo
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                                            31135




                                                                                            174
Documents Related Directly to Fraudulent Misrepresentations
           Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 126 of 130 PageID:
                                               31136




                                                                                               Ex. 21(b)

                                                                                                    175
         Documents Related in Time to Fraudulent Misrepresentations
                         Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 127 of 130 PageID:
                                                             31137




                  Insert rothenberg letter




App’x A, Tab BB

                                                                                                             176
   Documents Related to Martin Case
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                                    31138




                                                                                    178
All Documents Related to No Asbestos
                                 31139 Representation Made to Any Court
                  Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 129 of 130 PageID:




  To the Federal MDL Judge Charles Weiner
                                                                                                      Ex. 18


                                                                                                               179
Documents Related in Time to Fraud Discovery in 2009
       Case 2:11-cv-01754-BRM-AME Document 521-29 Filed 05/17/18 Page 130 of 130 PageID:
                                           31140




                                                                    “discussion with A.
                                                                        Dornbusch
                                                                    regarding Paduano
                                                                           case”




                                                                                           181
